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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

MICHAEL JOHN REESE,

Plaintiff,
V. Civil Action No. 3:21CV282
MEHERRIN RIVER REGIONAL JAIL,

Defendant.

MEMORANDUM OPINION

Plaintiff, a Virginia inmate proceeding pro se, has submitted a letter requesting information
on the status of an old case without providing any identifying information. (ECF No. 1.) The
Court reviewed its docketing system and found two cases that Plaintiff filed that were closed in
2018, and 2020, respectively. See Reese v. Commonwealth of Virginia, No. 3:17CV675 (E.D. Va.
Jan 1, 2018) (granting voluntary dismissal); Reese v. Lt. Jacobs, No. 3:18CV140, 2020 WL
1269786 (E.D. Va. Mar. 16, 2020) (granting summary judgment and dismissing claims with
prejudice). Accordingly, by Memorandum Order entered on May 6, 2021, the Court explained to
Plaintiff that he had no pending action in this Court that he could continue to litigate.

Nevertheless, the Court noted that the Clerk already mailed Plaintiff a standardized form
for filing a 42 U.S.C. § 1983 complaint. The Court explained that if Plaintiff wished to file a
complaint at this time, he should complete and return the form to the Court within fourteen (14)
days of the date of entry thereof,! and if he failed to take any action within the fourteen (14) days,

the Court would dismiss the action without prejudice. See Fed. R. Civ. P. 41(b).

 

' The Court explained that Plaintiff may not attempt to relitigate his claims that were
dismissed with prejudice, and that the Court would summarily dismiss such an action if he failed
to heed the Court’s warning.
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More than fourteen (14) days have elapsed and Plaintiff has not completed and returned
the § 1983 complaint form. Accordingly, this action will be DISMISSED WITHOUT

PREJUDICE,

An appropriate Order shall issue.

 

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John A. Gibney, Jr. /
Date: 8 June 2021 United States District Judge
Richmond, Virginia

 

 

 
